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 3
     Sacramento, California 95814
 4   Telephone: (916) 422-4022
 5
                           IN THE UNITED STATES DISTRICT COURT
 6
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
 8                                                  )
 9   UNITED STATES OF AMERICA,                      )   Case No.: 2:16-cr-00025-TLN
               Plaintiff,                           )
10                                                  )   STIPULATION AND ORDER
            v.                                      )   CONTINUANCE OF JUDGMENT AND
11                                                  )   SENTENCING
     JORGE VEGA-MACIAS,                             )
12            Defendant.                            )   Date: September 6, 2018
13                                                  )   Time: 9:30 a.m.
                                                    )   Judge: Troy L. Nunley
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15
            IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
16
     Judgment and Sentencing scheduled for September 6, 2018, is continued to November
17
     15, 2018, at 9:30 a.m. in the same courtroom. Defendant’s wife was recently
18
     hospitalized and needs additional time to prepare for sentencing. Justin Lee, Assistant
19
     United States Attorney, and Thomas A. Johnson, Defendant’s attorney, agree to this
20
     continuance. The PSR schedule is to be amended as follows:
21
     Judgment and Sentencing date:                              November 15, 2018
22
23
     Reply or Statement                                         November 8, 2018
24
     Motion for Correction of the Pre-Sentence
25
     Report shall be filed with the court and                   November 1, 2018
26   served on the Probation Officer and opposing
     counsel no later than:
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 1   IT IS SO STIPULATED.
 2
 3
     Dated: August 29, 2018                         /s/ Thomas A. Johnson
                                                    THOMAS A. JOHNSON
 4                                                  Attorney for Jorge Vega-Macias
 5
 6                                                  McGREGOR W. SCOTT
                                                    United States Attorney
 7
 8   Dated: August 29, 2018                         /s/ Justin Lee
                                                    JUSTIN LEE
 9
                                                    Assistant U.S. Attorney
10
11                                     ORDER
12
13         IT IS SO ORDERED.
14
     DATED: August 29, 2018
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16
                                                   Troy L. Nunley
17                                                 United States District Judge
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